




NO. 07-06-0479-CR



IN THE COURT OF APPEALS



FOR THE SEVENTH DISTRICT OF TEXAS



AT AMARILLO



PANEL B



OCTOBER 30, 2008



______________________________





JUAN A. SOLIS, APPELLANT



v.



THE STATE OF TEXAS, APPELLEE





_________________________________



FROM THE 242
ND
 DISTRICT COURT OF HALE COUNTY;



NO. B16671-0602; HON. ED SELF, PRESIDING



_______________________________



Before QUINN, C.J., and CAMPBELL and HANCOCK, JJ.





ON MOTION TO DISMISS





Pending before the Court is appellant’s motion to dismiss his appeal. &nbsp;Appellant and his attorney have both signed the motion. &nbsp;Tex. R. App. P. 42.2(a). &nbsp;No decision of this Court having been delivered to date, we grant the motion. &nbsp;Accordingly, the appeal is dismissed. &nbsp;No motion for rehearing will be entertained and our mandate will issue forthwith.



Per Curiam

Do not publish.


